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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA
                        ALEXANDRIA DIVISION

 BIPANJEET SINGH, Petitioner            CIVIL DOCKET NO. 1:20-CV-01172-P

 VERSUS                                 JUDGE DAVID C. JOSEPH

 LASALLE CORRECTIONAL                   MAGISTRATE JUDGE JOSEPH H.L.
 CENTER, Respondent                     PEREZ-MONTES



                                JUDGMENT

      For the reasons stated in the Report and Recommendation of the Magistrate

Judge previously filed herein (ECF No. 3), noting the absence of objection thereto,

and concurring with the Magistrate Judge’s findings under the applicable law;

      IT IS ORDERED that Petitioner’s Motion for Temporary Restraining Order

(ECF No. 1) enjoining Respondents from transferring him from LaSalle Correctional

Center while his § 2241 Petition is pending is DENIED.

      THUS DONE AND SIGNED in Chambers, this 19th day of October, 2020.



                                      _____________________________________
                                      DAVID C. JOSEPH
                                      UNITED STATES DISTRICT JUDGE
